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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                            §
In re:
                                                            §   Chapter 11
                                                            §
HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                            §   Case No. 19-34054-sgj11
                                                            §
                                     Debtor.
                                                            §
                                                            §
HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                            §
                                                            §   Adversary Proceeding No.
                                     Plaintiff,
                                                            §
                                                            §   21-03000-sgj
vs.
                                                            §
                                                            §
HIGHLAND CAPITAL MANAGEMENT FUND
                                                            §
ADVISORS, L.P., NEXPOINT ADVISORS, L.P.,
                                                            §
HIGHLAND INCOME FUND, NEXPOINT                                        NOTICE OF HEARING
                                                            §
STRATEGIC OPPORTUNITIES FUND,
                                                            §
NEXPOINT CAPITAL, INC., AND CLO
                                                            §
HOLDCO, LTD,
                                                            §
                       Defendants.
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                                   NOTICE OF HEARING

       PLEASE TAKE NOTICE that the Court has scheduled a hearing on the Motion to Dismiss

Plaintiff’s Complaint (Dkt. No. 43), to be held on March 22, 2021 at 9:30 a.m., before the

Honorable Stacey G.C. Jernigan, United States Bankruptcy Judge in the United States Bankruptcy

Court for the Northern District of Texas, Dallas Division, Earle Cabell Federal Building, 1100

Commerce Street, 14th Floor, Dallas, TX 75242.

       Pursuant to the Court’s General Order 2020-14, such hearing will likely be conducted via

videoconference or teleconference, in the discretion of the presiding Judge. For more information,

please visit www.txnb.uscourts.gov and https://www.txnb.uscourts.gov/judges-info/hearing-

dates/judge-jernigans-hearing-dates.

       RESPECTFULLY SUBMITTED this 9th day of February, 2021.

                                                    MUNSCH HARDT KOPF & HARR, P.C.

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                                                     Strategic Opportunities Fund, and NexPoint
                                                     Capital, Inc.




                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that, on February 9, 2021, a true and correct copy of this
document was served electronically by the Court’s CM/ECF system on all parties entitled to such
notice, including Zachery Z. Annable (zannable@haywardfirm.com), counsel for the Debtor, and
John J. Kane (jkane@krcl.com), counsel for CLO Holdco.

                                                     /s/ Julian P. Vasek
                                                     Julian P. Vasek, Esq.




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